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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                                HARRISON DIVISION

 TIMOTHY AARON LIVELEY                                                          PLAINTIFF

 V.                              CASE NO. 3:21-CV-3023
                                 CASE NO. 3:21-CV-3051

 CORPORAL ANDREW HOLLIS, et al.                                            DEFENDANTS

                                          ORDER

        Comes on for consideration the Report and Recommendation (Doc. 13) filed in this

 case on August 4, 2021, by the Honorable Mark E. Ford, United States Magistrate Judge

 for the Western District of Arkansas. More than fourteen (14) days have passed without

 objections being filed by the parties.

        The Court has reviewed this case and, being well and sufficiently advised, finds as

 follows: the Report and Recommendation is proper and should be and hereby is

 ADOPTED IN ITS ENTIRETY. Accordingly, for the reasons stated in the Magistrate

 Judge’s Report and Recommendation, Mr. Liveley’s first, third, and fourth claims, as stated

 in his Amended Complaint, are DISMISSED WITHOUT PREJUDICE. See 28 U.S.C.

 §1915A(b). The remaining claim for denial of medical care will proceed against

 Separate Defendants Steven Goode, Dalton Morrison, Eathen Raymond, and Sierra Hollis,

 with service to be effectuated by separate order.

        IT IS SO ORDERED on this 23rd day of September, 2021.


                                           /s/ Timothy L. Brooks
                                           TIMOTHY L. BROOKS
                                           UNITED STATES DISTRICT JUDGE
